256 F.2d 232
    117 U.S.P.Q. 378
    RICHMOND SCREW ANCHOR CO., Inc., Plaintiff-Appellee,v.SUPERIOR CONCRETE ACCESSORIES, Inc., Defendant-Appellant.
    No. 316, Docket 24868.
    United States Court of Appeals Second Circuit.
    Argued May 8, 1958.Decided June 3, 1958.
    
      1
      Jordan B. Bierman and Harry C. Bierman, New York City, for plaintiff-appellee.
    
    
      2
      Herman Seid and Robert W. Fiddler, New York City (Norman H. Gerlach, Chicago, Ill., of counsel), for defendant-appellant.
    
    
      3
      Before WATERMAN and MOORE, Circuit Judges, and GALSTON, District judge.
    
    
      4
      GALSTON, District Judge.
    
    
      5
      This patent suit presents no unusual difficulty.  The alleged invention is for a mechanical combination of parts which were well known in the field.  Utility is acknowledged, and the critical question is whether invention is disclosed.
    
    
      6
      Judge Dimock carefully reviewed the prior art.  It must be understood that the prior art, even if embodied in the file wrapper and presumably considered by the examiner in the Patent Office, involved only an ex parte presentation, whereas at the trial the examination of the witnesses on the important prior art patents such as the Schenck patent, No. 2,292,548, the Symons patent, No. 2,162,869, and the Parmenter patent, No. 2,235,442, disclosed that the alleged invention of the patentee was 'obvious' to the skilled mechanic.
    
    
      7
      We affirm on Judge Dimock's opinion (153 F.Supp. 38), which includes findings of fact as well as conclusions of law.
    
    